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                                    ID #1702



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

PETER BRIAN FLORES,

Defendant.                                                  No. 07-30136-DRH

                                     ORDER

HERNDON, Chief Judge:

             Before the Court is a fifth Motion to Continue Sentencing Hearing (Doc.

491) filed by Defendant Peter Brian Flores.         Defendant Flores asks that his

sentencing date currently scheduled for July 2, 2010 be continued for sixty days for

the reasons stated in the motion.       The Government does not object to the

continuance. Therefore, based on the reasons in the motion, the Court GRANTS

Defendant Flores’ motion to continue sentencing hearing (Doc. 491) and

CONTINUES the hearing currently scheduled for July 2, 2010 until September 3,

2010 at 10:00 a.m.

             IT IS SO ORDERED.

             Signed this 29th day of June, 2010.



                                             /s/    DavidRHer|do|
                                             Chief Judge
                                             United States District Court
